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4    (916) 447-2070
     Attorney for defendant
5

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7

8                    IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,          )
                                        )         CR S-04-0374 MCE
12             Plaintiff,               )
                                        )
13        v.                            )         STIPULATION AND PROPOSED
                                        )         ORDER
14                                      )
     CLARISSA OGO,                      )
15                                      )
               Defendant.               )
16                                      )
     ___________________________________)
17

18             Plaintiff, by its counsel, Assistant United States
19
     Attorney Carolyn K. Delaney, and Special Assistant United States
20
     Attorney Leslie Monahan, and defendant Clarissa Ogo, by her
21
     counsel, Robert J. Saria, hereby stipulate and agree that the
22
     current trial schedule should be vacated and that the following
23
     trial schedule should be ordered:
24
          Jury Trial to commence on January 25, 2006 at 9:00 am
25
          Trial Confirmation Hearing on January 10, 2006 at 8:30 am.
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1                 The parties further agree that time should be excluded

2    through January 10, 2006 pursuant to Local Rule of Court T-4 in

3    order to allow the defendant time to prepare for trial and to
4    conduct discussions with the government regarding possible

5    resolution.

6

7                                        Respectfully submitted,
8                                        MCGREGOR SCOTT
                                         United States Attorney
9

10   DATED:    October 3, 2005           /s/ Robert J. Saria
                                         Telephonically authorized to sign for
11                                       LESLIE MONAHAN
                                         Special Assistant U.S. Attorney
12
                                         Counsel for Plaintiff
13

14   DATED:    October 3, 2005           /s/ Robert J. Saria
                                         ROBERT J. SARIA
15
                                         Counsel for Clarissa Ogo
16

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19                                       O R D E R
20        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

21   Dated: October 11, 2005
22                                    __________________________________
                                      MORRISON C. ENGLAND, JR
23
                                      UNITED STATES DISTRICT JUDGE
24

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